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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

                                                   :
Tonya Saccardo,                                    :
                                                     Civil Action No.: ______
                                                   :
                        Plaintiff,                 :
        v.                                         :
                                                   :
Northstar Location Services, L.L.C.; and           :
                                                     COMPLAINT
DOES 1-10, inclusive,                              :
                                                   :
                                                   :
                        Defendants.                :



                For this Complaint, the Plaintiff, Tonya Saccardo, by undersigned counsel, states

as follows:


                                         JURISDICTION

        1.      This action arises out of Defendants’ repeated violations of the Fair Debt

Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”), and the invasions of Plaintiff’s

personal privacy by the Defendants and its agents in their illegal efforts to collect a consumer

debt.

        2.      Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367.

        3.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that the

Defendants transact business in this District and a substantial portion of the acts giving rise to

this action occurred in this District.


                                             PARTIES

        4.      The Plaintiff, Tonya Saccardo (“Plaintiff”), is an adult individual residing in East

Boston, Massachusetts, and is a “consumer” as the term is defined by 15 U.S.C. § 1692a(3).
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       5.      Defendant Northstar Location Services, L.L.C. (“Northstar”), is a New York

business entity with an address of 4285 Genesee Street, Buffalo, New York 14225-1943,

operating as a collection agency, and is a “debt collector” as the term is defined by 15 U.S.C.

§ 1692a(6).

       6.      Does 1-10 (the “Collectors”) are individual collectors employed by Northstar and

whose identities are currently unknown to the Plaintiff. One or more of the Collectors may be

joined as parties once their identities are disclosed through discovery.

       7.      Northstar at all times acted by and through one or more of the Collectors.


                     ALLEGATIONS APPLICABLE TO ALL COUNTS

   A. The Debt


       8.      The Plaintiff incurred a financial obligation (the “Debt”) to a creditor (the

“Creditor”).

       9.      The Debt arose from services provided by the Creditor which were primarily for

family, personal or household purposes and which meets the definition of a “debt” under

15 U.S.C. § 1692a(5).

       10.     The Debt was purchased, assigned or transferred to Northstar for collection, or

Northstar was employed by the Creditor to collect the Debt.

       11.     The Defendants attempted to collect the Debt and, as such, engaged in

“communications” as defined in 15 U.S.C. § 1692a(2).


   B. Northstar Engages in Harassment and Abusive Tactics

       12.     Defendants called Plaintiff’s aunt and disclosed that Plaintiff owed a debt.




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   C. Plaintiff Suffered Actual Damages


        13.    The Plaintiff has suffered and continues to suffer actual damages as a result of the

Defendants’ unlawful conduct.

        14.    As a direct consequence of the Defendants’ acts, practices and conduct, the

Plaintiff suffered and continues to suffer from humiliation, anger, anxiety, emotional distress,

fear, frustration and embarrassment.

        15.    The Defendants’ conduct was so outrageous in character, and so extreme in

degree, as to go beyond all possible bounds of decency, and to be regarded as atrocious, and

utterly intolerable in a civilized community.


                                    COUNT I
                   VIOLATIONS OF THE FDCPA 15 U.S.C. § 1692, et seq.

        16.    The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

        17.    The Defendants’ conduct violated 15 U.S.C. § 1692b(1) in that Defendants

contacted third parties and failed to identify themselves and further failed to confirm or correct

location information.

        18.    The Defendants’ conduct violated 15 U.S.C. § 1692b(2) in that Defendants

informed third parties of the nature of the Plaintiff’s debt and stated that the Plaintiff owed a

debt.

        19.    The Defendants’ conduct violated 15 U.S.C. § 1692e(10) in that Defendants

employed false and deceptive means to collect a debt.

        20.    The foregoing acts and omissions of the Defendants constitute numerous and

multiple violations of the FDCPA, including every one of the above-cited provisions.


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         21.   The Plaintiff is entitled to damages as a result of Defendants’ violations.


                                 COUNT II
        VIOLATION OF THE MASSACHUSETTS CONSUMER PROTECTION ACT,
                           M.G.L. c. 93A § 2, et seq.

         22.   The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

         23.    The Defendants employed unfair or deceptive acts to collect the Debt, in

violation of M.G.L. c. 93A § 2.

         24.    Defendant’s failure to comply with these provisions constitutes an unfair or

deceptive act under M.G.L. c. 93A § 9 and, as such, the Plaintiff is entitled to double or treble

damages plus reasonable attorney’s fees.


                                  COUNT III
               INVASION OF PRIVACY BY INTRUSION UPON SECLUSION

         25.   The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

         26.   The Restatement of Torts, Second, § 652(b) defines intrusion upon seclusion as,

“One who intentionally intrudes…upon the solitude or seclusion of another, or his private affairs

or concerns, is subject to liability to the other for invasion of privacy, if the intrusion would be

highly offensive to a reasonable person.”

         27.   Massachusetts further recognizes the Plaintiff’s right to be free from invasions of

privacy, thus Defendant violated Massachusetts state law.

         28.   The Defendant intentionally intruded upon Plaintiff’s right to privacy by

continually harassing the Plaintiff by calling Plaintiff’s aunt and disclosing that Plaintiff owed

Debt.


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       29.     The conduct of the Defendant in engaging in the illegal collection activities

resulted in multiple invasions of privacy in such a way as would be considered highly offensive

to a reasonable person.

       30.     As a result of the intrusions and invasions, the Plaintiff is entitled to actual

damages in an amount to be determined at trial from Defendant.

       31.     All acts of Defendant and its agents were committed with malice, intent,

wantonness, and recklessness, and as such, Defendant is subject to punitive damages.


                                 COUNT IV
               INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

       32.     The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully set forth herein at length.

       33.     The acts, practices and conduct engaged in by the Defendants vis-à-vis the

Plaintiff was so outrageous in character, and so extreme in degree, as to go beyond all possible

bounds of decency, and to be regarded as atrocious, and utterly intolerable in a civilized

community.

       34.     The foregoing conduct constitutes the tort of intentional infliction of emotional

distress under the laws of the State of Massachusetts.

       35.     All acts of Defendants and the Collectors complained of herein were committed

with malice, intent, wantonness, and recklessness, and as such, Defendants are subject to

imposition of punitive damages.


                                        COUNT V
                                    COMMON LAW FRAUD

       36.     The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

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       37.     The acts, practices and conduct engaged in by the Defendants and complained of

herein constitute fraud under the Common Law of the State of Massachusetts.

       38.     The Plaintiff has suffered and continues to suffer actual damages as a result of the

foregoing acts and practices, including damages associated with, among other things,

humiliation, anger, anxiety, emotional distress, fear, frustration and embarrassment caused by the

Defendants. All acts of Defendants and the Collectors complained of herein were committed

with malice, intent, wantonness, and recklessness, and as such, Defendants are subject to

punitive damages.


                                     PRAYER FOR RELIEF

               WHEREFORE, the Plaintiff prays that judgment be entered against Defendants:


                    1. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1) against Defendants;

                    2. Statutory damages of $1,000.00 for each violation pursuant to 15 U.S.C.

                       §1692k(a)(2)(A) against Defendants;

                    3. Costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C.

                       § 1692k(a)(3) against Defendants;

                    4. Double or treble damages plus reasonable attorney’s fees pursuant to M.G.L.

                       c. 93A § 3(A);

                    5. Actual damages from Defendants for the all damages including emotional

                       distress suffered as a result of the intentional, reckless, and/or negligent

                       FDCPA violations and intentional, reckless, and/or negligent invasions of

                       privacy in an amount to be determined at trial for the Plaintiff;

                    6. Punitive damages; and

                    7. Such other and further relief as may be just and proper.

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                     TRIAL BY JURY DEMANDED ON ALL COUNTS



Dated: November 12, 2010

                                    Respectfully submitted,

                                    By /s/ Sergei Lemberg

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